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CASE NUTVIBER 02 C 270 DATE December 28, 2004
CASE MITTLEMAN et al vs. K.ILREA ct al
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(l) |:l Filed motion of [ use listing in “Motion" box above.]
(2) l:| Brief in support of motion due _______
(3) El Answer brief to motion due__. Reply to answer brief due________.
(4) [] Ruling/Hearing on _ set for _______ at
(5} |Il Status hearing[heldfcontinued to] [set for/re-set for] on _____ set for ________ at ________.
(6) E] Pretrial eonfereoce[held/continued to] [set for/re-set for] on ________ set for_______ al _______.
(7} Cl Trial[set for/re-set for] on ___ at
(8) El [Bench/Jury trial] [Hearing] held/continued to _______ at
(9) |:l This case is dismissed [with/without] prejudice and without costs[by/agreement/pl.lrsuan£ w]

Cl FRCP4{m) [] local Ruie 41.! Cl FRCP41(3){1) l:l FRCP4l(a)(2).

(10)- [Other docket entry] Enter order and final judgment

(I l) E] [For further detail see order (on reverse side of?attached to) the original minute order.]
No notices required, advised in open eo\m.

 

 

No notices required

 

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IN THE UNITED STATES DISTRICI` COURT
FOR TIIE NOR'I'HERN DISTRICI` OF ILLINOIS
EASTERN DIVISlON

 

HOWARD MIT'I`ELMAN, Individually And On g
Behalf Of All Others Shnilarly Situated, : No. 02 C 0270

Plaintiffs, Judge J ames F. Holdennan

VS.

GREGORY J. KILREA, LOU WEISBACH, JOHN
R. KELLEY JR., MARC S. S]MON, LINDEN D.
NELSON, BRADLEY KEYWELL, and ERIC
LEFKOFSKY,

Defendants.

 

ORDER AND FINAL JUDGMENT

On the lst day of October, 2004, a hearing having been held before this Court to
determine: (1) whether the terms and conditions of the Stipulation and Agreement of Settlllent
dated March 5, 2004 (the “Stipulat:ion") are fair, reasonable and adequate for the settlement of all
claims asserted by the Class against the Defendants in the Complaint now pending in this Court
under the above caption, and should be approved; (2) whether judgment should be entered
dismissing the Complaint; (3) whether to approve the Plan of Allocation as a fair and reasonable
method to allocate the settlement proceeds among the members of the Class; and (4) whether and
in what amount to award Plaint:iH`s’ Counsel fees and reimbursement of cxpenses. The Court
having considered all matters submitted to it at the hearing and otherwise; and it appearing that a
notice of the hearing substantially in the form approved by the Cour't was mailed to all persons or
entities reasonably identifiable, who purchased the common stock of HA»LO Industries, Inc.

(“HA-LO") during the period from February 18, 1999 through and including July 30, 2001 (thc

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at

“Class Period”), except those persons or entities excluded from the definition of the Class, as
shown by the records of HA-LO’s transfer agent, at the respective addresses set forth in such
records, and that a summary notice of the hearing substantially in the form approved by the
Court was published in the national edition of The Wall Street _.!ournal pursuant to the
speciEcations of the Court; and the Court having considered and determined the fairness and
reasonableness of the award of attomeys’ fees and expenses requested; and all capitalized terms
used herein having the meanings as set forth and defined in the Stipulah'on.

NOW, THER.EFORE, IT IS HEREBY ORDERED THAT:

l. The Court has jurisdiction over the subject matter of the Action, the Plaintiffs, all
Class_Members, and the Defendants.

§ 2. The Court Ends that the prerequisites for a class action under Fed. R. Civ. P. B
(a) and (b)(3) have been satisfied in that: (a) the number of Class Members is so numerous that
joinder of all members thereof is impracticable; (b) there are questions of law and fact common
to the Class; (c) the claims of the Class Representatives are typical of the claims of the Class they
seek to represent; (d) the Class Representatives have and will fairly and adequater represent the
interests of the Class; (e) the questions of law and fact common to the members of the Class
predominate over any questions affecting only individual members of the Class; and (i) a class
action is superior to other available methods for the fair and etfcient adjudication of the
controversy. b

3. Pursuant to Rule 23 of the Fedcral Rules of Civil Proccdure this Court hereby
finally certiiies this action as a class action on behalf of all persons who purchased the common
stock of HA-LO lndustries, Inc.' (“HA~LO”) during the period &om February 18, 1999 through

and including July 30, 2001. Exc]uded from the Class are Defendants, the officers and directors

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of HA-LO, members of their immediate families and their legal representatives, heirs, successors
or assigns and any entity in which the Defendants have a controlling interest Also excluded
ii'omthe Class are all persons and entities that acquired HA¢LO securities as part ofthe Starbelly
acquisition Also excluded from the Class are the persons and/or entities who requested
exclusion li'om the Class as listed on Exhibit A annexed hereto, with copies of the Requests to be
liled with the Court.

4. Notice of the pendency of this Action as a class action and of the proposed
Sett]ement was given to all Class Members who could be identified with reasonable effort 'Ihe
form and method of notifying the Class of the pendency of the action as a class action and of the
terms and conditions of the proposed Settlement met the requirements of Rule 23 of the Federal
Rules of Civil Procedure, Section 21D(a)(7) of the Securities Exchange Act of 1934, 15 U.S.C.
78u-4(a)(7) as amended by the Private Securities Litigation Reform Act of1995, due process,
and any other applicable law, constituted the best notice practicable under the circumstances, and
constituted due and sufficient notice to all persons and entities entitled thereto.

5. The ' Settlement is approved as fair, reasonable and adequate and the Class
Members and the parties are directed to consummate the Settlement in accordance with the terms
and provisions of the Stipulation.

6. The Complaint, which the Court finds was filed on a good faith basis in
accordance with the Private Securities Litigation Reform Act and Rule 11 of the Federal Rules of
Civil Procedure based upon all publicly available information, is hereby dismissed without
prejudice and without costs, except as provided in the Stipulation as against the Defendants.

7. The dismissal without prejudice will be converted to a dismissal with prejudice

upon the occurrence of (a) the receipt by Plaintiffs, the Class or their assignees of 518 million

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(the “Settlement Amount”) or other amount later agreed to by Plaintiffs, the Class or their
assignees in compromise of the Settlement Amount, or (b) the Assigned Claims (as defined in
the Stipulation) are dismissed, resolved or otherwise terminated (the “Conversion"). Until the
Conversion, the Action against Defendants may not be reopened or reinstated, Plaintitfs may not
initiate a new lawsuit asserting any of the Settled Claims (delined below), and Defendants may
not initiate a claim in any form asserting any of the Settled Defendants’ claims (del':ined below).

8. Upon the lConversion, members of the Class and the successors and assigns of any
of them, are hereby permanently barred and enjoined from instituting, commencing or
prosecuting, either directly or in any other capacity, any and all claims (a) that have been
asserted in the Action by the Plaintiffs, the Class or any of them against any of the Def-dants,
or (b) that could have been asserted in any forum by the PlaintiH`s, the Class or any of th_
against the Defendants that arise out of or are based upon the allegations, transactions facts,
matters, occurrences, representations or omissions, involved, set forth. or related to the Action
and relate to the purchase of the common stock of HA-LO during the Class Peiiod. (the “Settled
Claims”) against the Defendants, their heirs, legal representatives, successors, or assigns (the
“Dismissed Parties”). The “Settled Claims” includes any and all Settled Claims which any
Plaintiff or Class Member does not know or suspect to exist in his, her or its favor at the time of
this Order which if known by him, her or it might have affected his, her or its decision(s) with
respect to the Settlement. Upon the Conversion, the Settled Claims are hereby compromised,
settled, released discharged and dismissed as against the Released Parties on the merits and with
prejudice by virtue of the proceedings herein and this Order and Final Judgment.

9. Upon the Conversion, the Defendants and the successors and assigns of any of

them, are hereby permanently barred and enjoined from instituting commencing or prosecuting,

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either directly or in any other capacity, any and all claims, lights or causes of action or liabilities
whatsoever, whether based on federal, state, local, statutory or common law or any other law,
rule or regulation, including both known claims and Unlmown Claims, that have been or could
have been asserted in the Action or any forum by the Defendants or any of them or the
successors and assigns of any of them against any of the Plaintiffs, Class Membels or their
attomeys, which arise out of or relate in any way to the institution, prosecution, or Settlement of
the Action (except for claims to enforce the Settlcment) (“Settled Defendants’ Claims"). The
“Settled Defendants’ Claims” includes any and all claims any Defendant does not know or
suspect to exist in his, her or its favor, which if known by him, her or it might have a.‘li`ectcd his,
her - or its decision(s) with respect to the Settlement. Upon the Conve.lsion, the Settled
Defendants' Claims are hereby compromised settled, released, discharged and dismissed on the
merits and with prejudice by virtue of the proceedings herein and this Order and Final Judgment.
10. Neither this Order and Final Judgment, the Stipulation, nor any of its terms and
provisions, nor any of the negotiations or proceedings connected with it, nor any of the
documents or statements referred to therein shall be:
(a) oii`ered or received against the Defendants or against the Plaintijis or the
Class as evidence of or construed as or deemed to be evidence of any presumption, concession,
or admission by any of the Defendants or by any of the Plaintili`s or the Class with respect to the
auth of any fact alleged by Plalnsfrs or the validity of any claim that had been or could have
been asserted in the Action or in any litigation, or the deficiency of any defense that has been or
could have been asserted in the Action or in any litigation, or of ally liability, negligence fault,

or wrongdoing of the Defendants;

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(`b) offered or received against the Defendants as evidence of a presumption,
concession or admission of any fault, misrepresentation or omission with respect to any
statement or written document approved or made by any Defendant, or against the Plaintiffs and
chc clean aa evidence cr any insanity in dnc claims efPlainlia‘e and lhc claee;

(e) offered or received against the Defendants or against the Plaintifl`s or the
Class as evidence of a presumption, concession or admission with respect to any liability,
negligence, fault or wrongdoing, or in any way referred to for any other reason as against any of
the parties to the Stipulation, in any other civil, criminal or administrative action or proceeding
other than such proceedings as may be necessary to eH`ectuate the provisions of the Stipulation;
provided, however, that Defendants may refer to the Stipulation to effectuate the liability
protection granted them thereunder;

(d) construed against the Defendants or the Plaintitl`s and the Class as an
admission or concession that the consideration to be given hereunder represents the amotmt
which could be or would have been recovered after trial; or

(e) construed as or received in evidence as an admission, concession or
presumption against PlaintiB or the Class or any of them that any of their claims are without
merit or that damages recoverable under the Complaint would not have exceeded the Settlement
Fund. n

11. ` The Plan of Allocation is approved as fair and reasonable, and PlaintiE`s’ Counsel
and the Claims Administrator are directed to administer the Stipulation in accordance with its
terms and provisions

_ 12. The Court finds that all parties and their counsel have complied with each

requirement of Rule 1 1 of the Federal Rulcs of Civil Procedure as to all proceedings herein.

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13. Plaintift`s’ Counsel are hereby awarded#'l 11 n`)y,of the Gross Settlement
Fund in fees, which sum the Court finds to be fair and reasonable, and $857,848.07 in
reimbursement of expenses, which expenses shall be paid to Plaintiffs’ Co-Lead Counsel &om
the Settlement Fund with interest from the date such Settlement Fund was funded to the date of
payment at the same net rate that the Settlement Fund eams. The award of attemeys’ fees shall
be allocated among Plaintiffs’ Counsel in a fashion which, in the opinion of Plaintiff`s’ Co-lead
Counsel, fairly compensates PlaintiH`s’ Counsel for their respective contributions in the
prosecution of the Action. _
14. In making this award of attorneys‘ fees and reimbursement of expenses to be paid
from the Gross Settlement Fund, the Court has considered and found that:
(a) Pursuant to _ the Ha-Lo Sharing Agreement, the settlement has likely
created a timd of $7.575 million in cash that is already on deposit, plus interest thereon and that
numerous Class Membens who file acceptable proofs of claim will benefit ii'om the Settlement
created by Plaintiffs’ Counsel;
(b) Over 29,316 copies of the Settlement Notice were disseminated to putative

arms
of up to one-third of the Gross Settlement Fund and for reimbursement of expenses in an amount

/Class Members indicating that Plaintifi.`s' Counsel were moving for attomeys’ fees in the amount
of approximately $857,848.07 and no objections were filed against the terms of the proposed
Settlement or the ceiling on the fees and expenses requested by Plainti&’ Counsel contained in
the Settlement Notice; ,

(e) Plaintl'tfs’ Counsel have conducted the litigation and achieved the

Settlement with skill, perseverance and diligent advocacy,_j¢,. ,¢ ,e| l tip l ` 7 '. v l

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(d) The action involves complex factual and legal issues and was actively
prosecuted over 2 years and, in the absence of a settlem-t, would involve further lengthy
proceedings with uncertain resolution of the complex factual and legal issues;

(e) Plaintiffs’ Counsel have devoted over 11,991.2 hours, with a lodestar
value of $4,400,421.75, to achieve the Settlement; and

(t`) The amount of attorneys‘ fees awarded and expenses reimbursed from the
Settlement Fund are consistent with awards in similar cases.

15. Exclusive jurisdiction is hereby retained over the parties and the Class Members
for all matters relating to this Action, including the administration, interpretation, effectuation or
enforcement of the Stipulation and this Order and Final Judgment, and including any application
for fees and expenses incurred in connection with administering and distributing the settlement
proceeds to the members of the Class.

16. Without further order of the Court, the parties may agree to reasonable extensions
of time to carry out any of the provisions of the Stipulation.

17. 4 There is no just reason for delay in the entry of this Order and Final Judgment and
immediate entry by the Clerk of the Court is expressly directed pursuant to Rule 54 (b) of the

F ederal Rulcs of Civil Procedure.

Dated: Chicago, Il]inois

D r_¢,g,bcv- z?_' ,2004 /\

onorable James F. Holderman
I.JNITED STATES DISTR.ICI` IUDGE

 

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Williams, Jr. J. Moden P.O. Box 3404 St. Augus|ine 1FL_______ __YE_JBS 10124£_2003
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